Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 1 of 23 Page ID
                                 #:1239


 1   C. D. Michel – SBN 144258
     cmichel@michellawyers.com
 2   Joshua Robert Dale – SBN 209942
     jdale@michellawyers.com
 3   Konstadinos T. Moros – SBN 306610
     kmoros@michellawyers.com
 4   Alexander A. Frank – SBN 311718
     afrank@michellawyers.com
 5   MICHEL & ASSOCIATES, P.C.
     180 E. Ocean Blvd., Suite 200
 6   Long Beach, CA 90802
     Telephone: (562) 216-4444
 7
   Donald Kilmer-SBN 179986
 8 Law Offices of Donald Kilmer, APC
   14085 Silver Ridge Road
 9 Caldwell, Idaho 83607
   Telephone: (408) 264-8489
10 Email: Don@DKLawOffice.com
11 Attorneys for Plaintiffs
12                       UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA
14    CALIFORNIA RIFLE & PISTOL                      CASE NO: 8:23-cv-10169-SPG
      ASSOCIATION, INCORPORATED; THE                 (ADSx)
15    SECOND AMENDMENT FOUNDATION;
      GUN OWNERS OF AMERICA, INC.;                   REBUTTAL DECLARATION OF
16    GUN OWNERS FOUNDATION; GUN                     CLAYTON CRAMER IN
      OWNERS OF CALIFORNIA, INC.;                    SUPPORT OF PLAINTIFFS’
17    ERICK VELASQUEZ, an individual;                MOTION FOR PRELIMINARY
      CHARLES MESSEL, an individual;                 INJUNCTION
18    BRIAN WEIMER, an individual;
      CLARENCE RIGALI, an individual;                Hearing Date: March 13, 2024
19    KEITH REEVES, an individual, CYNTHIA           Hearing Time: 1:30 p.m.
      GABALDON, an individual; and                   Courtroom: 5C
20    STEPHEN HOOVER, an individual,                 Judge: Hon. Sherilyn Peace Garnett
21                       Plaintiffs,
22                v.
23    LOS ANGELES COUNTY SHERIFF’S
      DEPARTMENT; SHERIFF ROBERT
24    LUNA, in his official capacity; LA VERNE
      POLICE DEPARTMENT; LA VERNE
25    CHIEF OF POLICE COLLEEN FLORES,
      in her official capacity; ROBERT BONTA,
26    in his official capacity as Attorney General
      of the State of California and DOES 1-10,
27
                         Defendants.
28


              REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 2 of 23 Page ID
                                 #:1240


 1                                          TABLE OF AUTHORITIES

 2                                                                                                                 Page(s)
 3   Cases
 4   Cockrum v. State,
 5           24 Tex. 394, 402, 403 (1859) ........................................................................ 11
 6   Dred Scott v. Sandford,
 7           60 U.S. 393, 417 (1857) ................................................................................ 10
 8   Fenner v. State,
 9           3 Vt. 108 (1855). ............................................................................................. 9
10   Nunn v. State,
11           1 Ga. 243, 250, 251 (1846)............................................................................ 14
12   Owen v. State,
13           31 Ala. 387, 388, 389 (1858) ......................................................................... 13
14   Simpson v. State,
15           5 Yerg. 356, 357 (Tenn. 1833) ....................................................................... 11
16   Simpson v. State,
17           5 Yerg. 356, 359, 360 (Tenn. 1833) ............................................................... 12
18   Smith v. State,
19           11 La. An. 633, 634 (1856)............................................................................ 15
20   State v. Chandler,
21           5 La. An. 489, 490, 491 (1850) ..................................................................... 15
22   State v. Huntley,
23           25 N.C. 418, 422, 423 (1843) ........................................................................ 13
24   State v. Smith,
25           11 La.Ann. 633, 634 (1856). ......................................................................... 16
26   Stockdale v. State,
27           32 Ga. 225, 227 (1861)............................................................................ 13, 14
28

                                      i
                REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 3 of 23 Page ID
                                 #:1241


 1   Watson v. Stone,
 2            148 Fla. 516, 524 (Fla. 1941) (Buford, J. concurring). ................................... 2
 3   Statutes
 4
     11 Pennsylvania Statutes at Large, 209-12. ............................................................... 3
 5
     12 Pennsylvania Statutes at Large, 416-23 ................................................................ 3
 6
     2 Laws of the State of New-York 191-3 (1792) ........................................................ 3
 7
     3 Records of the Colony of Rhode Island, and Providence Plantations, in
 8
     New England 31 (1858). ............................................................................................ 5
 9
     4 Statutes at Large of South Carolina319-20 (1838) ................................................ 3
10
     5 Records of the Governor and Company of the Massachusetts Bay in New England
11
        211 (1854). ............................................................................................................. 8
12
     An Act concerning the Kaskaskia Indians, Laws of the Colonial and State
13
        Governments, Relating to Indians and Indian Affairs, from 1633 to 1831… 240-1
14
        (1832) ..................................................................................................................... 4
15
     An Act for the More Effectual Suppression of Drinking Houses and Tippling Shops
16
        (1852), ................................................................................................................ 8, 9
17
     Chandler, 18 The State Records of the Colony of Georgia, 294-5 (1759) ................ 6
18
     Charter and General Laws of the Colony and Province of Massachusetts Bay Ch. 91
19
        at 190 (1814). ......................................................................................................... 6
20
     Mitchell and Flanders, 2 Statutes at Large of Pennsylvania from 1682 to 1801 420
21
        (1896). .................................................................................................................... 6
22
23   Other Authorities
24   Daniel A. Novak, The Wheel of Servitude: Black Forced Labor
25   after Slavery 3 (2021). ............................................................................................... 4
26   Forrest McDonald, A Constitutional History of the United States 124 (1982) ....... 14
27   Ida B. Wells-Barnett, Southern Horrors and Other Writings: the Anti-Lynching
28      Campaign of Ida B. Wells, 1892-1900 66 (2016). ................................................. 2

                                        ii
                  REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 4 of 23 Page ID
                                 #:1242


 1   Report of the Adjutant-General for the Biennial Period Ending December 1, 1892

 2     18-19 in Journal of the [Florida] Senate (1893)..................................................... 3

 3   To Protect One of Their Color, [Bridgewater, N. J.]

 4     Courier-News, Jul. 7, 1892, 1 ................................................................................ 3

 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                      iii
                REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 5 of 23 Page ID
                                 #:1243


 1   Qualifications
 2         1.      My M.A. in History is from Sonoma State University in California. I
 3   teach history at College of Western Idaho. I have nine published books, mostly
 4   scholarly histories of weapons regulation. My 18 published articles (mostly in law
 5   reviews) have been cited in D.C. v. Heller (2008), McDonald v. Chicago (2010),
 6   Jones v. Bonta (9th Cir. 2022), Young v. State (9th Cir. 2021), State v. Sieyes (Wash.
 7   2010), Senna v. Florimont (N.H. 2008), and Mosby v. Devine (R.I. 2004).
 8         2.      In several cases, my work has been cited in defense of laws limiting
 9   firearms ownership: State v. Roundtree (Wisc. 2021), State v. Christen (Wisc. 2021),
10   and King v. Sessions (E.D.Penn. 2018).
11         I.      Retention and Compensation
12         3.      I have been retained by the California Rifle & Pistol Association to
13   render expert opinions in this case. I am being compensated at a rate of $250 per
14   hour. My compensation is not contingent on the results of my expert analysis or the
15   substance of my opinions or testimony in this matter.
16         II.     Summary
17         4.      I examine declarations by Spitzer, Rivas, and Vorenberg for
18   misrepresentations of facts. Given time limitations, I can only provide some
19   illustrative examples, and this declaration should not be understood as an exhaustive
20   rebuttal to every last historical claim they make. Attached to this rebuttal declaration
21   is an appendix (Exhibit 4) examining some of the historical laws the State’s experts
22   and other Defendants cite in their opposition papers. The appendix was prepared by
23   the Plaintiffs’ counsel in consultation with me. I reviewed it in its entirety, including
24   both Defendants’ or their experts’ description of the historical laws cited, as well as
25   the full copies of the historical laws that the appendix links to, and hereby confirm
26   the appendix as being true and correct.
27
28

                                       1
                 REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 6 of 23 Page ID
                                 #:1244


 1         III.   Spitzer Declaration
 2         5.     Spitzer cites an 1893 Florida licensing law ¶32 whose purpose was
 3   racist. Florida Supreme Court Justice Buford’s concurring opinion in a challenge to
 4   the law admitted:
 5         I know something of the history of this legislation. The original Act of
           1893 was passed when there was a great influx of negro laborers in this
 6         State drawn here for the purpose of working in turpentine and lumber
           camps. The same condition existed when the Act was amended in 1901
 7         and the Act was passed for the purpose of disarming the negro laborers
           and to thereby reduce the unlawful homicides that were prevalent in
 8         turpentine and saw-mill camps and to give the white citizens in sparsely
           settled areas a better feeling of security. The statute was never intended
 9         to be applied to the white population and in practice has never been so
           applied. We have no statistics available, but it is a safe guess to assume
10         that more than 80% of the white men living in the rural sections of
           Florida have violated this statute. It is also a safe guess to say that not
11         more than 5% of the men in Florida who own pistols and repeating rifles
           have ever applied to the Board of County Commissioners for a permit
12         to have the same in their possession and there has never been, within my
           knowledge, any effort to enforce the provisions of this statute as to white
13         people, because it has been generally conceded to be in contravention to
           the Constitution and non-enforceable if contested. 1 [emphasis added]
14
15         6.     A little history helps to explain why Florida likely saw the need for this
16   law about “repeating rifles.”     The journalist Ida B. Wells-Barnett explains in
17   SOUTHERN HORRORS AND OTHER WRITINGS: THE ANTI-LYNCHING CAMPAIGN OF IDA
18   B. WELLS, 1892-1900:
19         Of the many inhuman outrages of this present year, the only case where
           the proposed lynching did not occur, was where the men armed
20         themselves in Jacksonville, Fla., and Paducah, Ky, and prevented it. The
           only times an Afro-American who was assaulted got away has been
21         when he had a gun and used it in self-defense.
22         The lesson this teaches and which every Afro-American should ponder
           well, is that a Winchester rifle should have a place of honor in every
23         black home, and it should be used for that protection which the law
           refuses to give. When the white man who is always the aggressor knows
24         he runs as great risk of biting the dust every time his Afro-American
           victim does, he will have greater respect for Afro-American life. The
25         more the Afro-American yields and cringes and begs, the more he has
           to do so, the more he is insulted, outraged and lynched. 2 [emphasis
26         added]
27         1
             Watson v. Stone, 148 Fla. 516, 524 (Fla. 1941) (Buford, J. concurring).
28         2
            Ida B. Wells-Barnett, Southern Horrors and Other Writings: the Anti-
     Lynching Campaign of Ida B. Wells, 1892-1900 66 (2016).
                                      2
                REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 7 of 23 Page ID
                                 #:1245


 1         7.     To what 1892 incident was Wells-Barnett referring?
 2         Armed Negroes Surround a Jail to Prevent a Threatened Lynching.
           Jacksonville, Fla., July 7. Shortly before midnight a mob of seven
 3         hundred negroes marched to the Duval County Jail in squads. They were
           all heavily armed, and immediately took up positions about the various
 4         entrances to the prison. The negroes claimed that they received positive
           information that the whites intended lynching a negro confined in the
 5         jail who is charged with having murdered a man last Monday. 3
 6         8.     Even if the 1893 law was not past the 1868 demarcation set by Bruen,
 7   defendants being on the side of a lynch mob is hardly a persuasive argument.
 8                A.      Gunpowder Storage Laws
 9         9.     In ¶42, Spitzer points to gunpowder storage laws. Examination of the
10   Founding Era laws demonstrates that the goal was fire prevention, as even the title
11   of Spitzer’s secondary source implies: The Duty to Bear Arms: Historical Militia
12   Law, Fire Prevention Law, and the Modern Second Amendment [emphasis added].
13   These laws existed because of the public safety hazard involved in keeping large
14   quantities in town, such as South Carolina’s 1770 law creating a public powder
15   magazine and directing “That persons living in Charlestown shall store their
16   gunpowder, except the quantity which by law they are allowed to keep in their
17   houses…” were to be stored in the public magazines. There is no mention what that
18   quantity was. 4 A 1782 Pennsylvania law prohibited storing more than 30 pounds of
19   gunpowder in Philadelphia or within two miles, except in the public powder
20   magazine. 5 Minor revisions were made in 1787.6 New York limited possession in
21   New York City to 28 pounds, separated into seven-pound containers, except in the
22   public magazine. 7
23
24
25         3
             To Protect One of Their Color, [Bridgewater, N. J.] COURIER-NEWS, JUL. 7,
26   1892, 1; See Report of the Adjutant-General for the Biennial Period Ending
     December 1, 1892 18-19 in JOURNAL OF THE [FLORIDA] SENATE (1893).
27         4
             4 STATUTES AT LARGE OF SOUTH CAROLINA319-20 (1838).
           5
             11 PENNSYLVANIA STATUTES AT LARGE, 209-12.
28         6
             12 PENNSYLVANIA STATUTES AT LARGE, 416-23.
           7
             2 LAWS OF THE STATE OF NEW-YORK 191-3 (1792).
                                      3
                REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 8 of 23 Page ID
                                 #:1246


 1                 B.    Commercial Licensing and Recording
 2         10.     Spitzer at ¶45, in a discussion of commercial firearms sale licensing,
 3   misleads: “The earliest commercial licensing law was an 1814 Illinois measure that
 4   made it unlawful for whites to engage in commercial activities with Native
 5   Americans unless they obtained a license from the governor.” The cited statute does
 6   indeed regulate commercial activities, but not guns. It regulated sale to Indians of
 7   “any quantity of whiskey, gin, brandy, rum, cider or any other intoxicating agent…” 8
 8   This is such an egregious mischaracterization that I have included an image of the
 9   statute in Exhibit 3.
10                 C.    Those Considered “Vagrants” Or “Unsound”
11         11.     Spitzer at ¶55 points to an 1865 Mississippi law defining vagrancy
12   rather vaguely, with no clarification that vagrancy in immediate postbellum
13   Confederacy was a method of returning freedmen to a bondage where white farmers
14   purchased their labor from the local government. 9 As Spitzer acknowledges “Most
15   of these laws were enacted after the Civil War, when, as noted, migration to cities
16   dramatically accelerated.”
17         12.     If Spitzer wants to draw an analogy to laws that disarmed vagrants to
18   California’s concealed weapon law, one must ask: does California’s law not require
19   proof of residency or permanent address?
20         13.     If Spitzer is suggesting that laws disarming vagrants were proxies for
21   mental illness, does that mean that the psychological testing that issuing agencies are
22   allowed to require under current California law 10 would fail to identify mentally ill
23   applicants?
24
25
26         8
             An Act concerning the Kaskaskia Indians, LAWS OF THE COLONIAL AND
     STATE GOVERNMENTS, RELATING TO INDIANS AND INDIAN AFFAIRS, FROM 1633 TO
27   1831… 240-1 (1832).
           9
             Daniel A. Novak, THE WHEEL OF SERVITUDE: BLACK FORCED LABOR AFTER
28   SLAVERY 3 (2021).
           10
              Cal. PC § 26190(e)(1).
                                     4
               REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 9 of 23 Page ID
                                 #:1247


 1                D.    Guns and Intoxication
 2         14.    Spitzer in ¶¶58-72 discusses laws prohibiting possession of firearms
 3   while intoxicated. The deeper problem is that Spitzer has misrepresented many of
 4   the colonial laws that supposedly prohibited drinking while armed. In ¶65: “In a
 5   1655 Virginia law, more general alcohol-fueled revelry was subject to fines for any
 6   who would ‘shoot any guns at drinking,’ though the law carved out two special
 7   occasions for regulatory exemption: ‘marriages and funerals only excepted.’” What
 8   Spitzer left out is that the concern was not public drinking with guns would hazard
 9   colonists but:
10         WHEREAS it is much to be doubted , That the comon enemie the
           Indians , if opportunity serve, would suddenly invade this collony to a
11         totall subversion of the same , and whereas the only means for the
           discovery of their plotts is by allarms , of which no certainty can be had
12         in respect of the frequent shooting of gunns in drinkings… 11
13         15.    The concern was not that some drunk would accidentally or
14   intentionally shoot someone, but that his firing might be mistaken for a warning of
15   Indian attack. “Boy who cries wolf syndrome” drove this ban.
16         16.    Spitzer at ¶66 claims:
17         In 1636, Rhode Island enacted a measure to punish any who would
           engage in “shooting out any gun . . . drinking in any tavern alehouse . .
18         . on the first day of the week more than neccesity requireth.” Any who
           did so would find themselves in the stocks or fined five shilling.
19
20         17.    What the law actually says:
21         And bee it further enacted by the authority aforesaid, That any person
           or persons shall presume to sport, game or play at any manner of game
22         or games, or shooting on the first day of the weeke as aforesaid, or shall
           sit tippling and drinking in any tavern, ale-house, ordinary or victualling
23         house on the first day of the weeke, more than necessity requireth; 12
           [emphasis added]
24
25         11
               Hening, 2 STATUTES AT LARGE, Act 119 at 126 (1810),
26   https://books.google.com/books?id=SkIVAAAAYAAJ&newbks=1&newbks_redir=
     0&dq=%22WHEREAS%20it%20is%20much%20to%20be%20doubted%20%22%
27   20virginia&pg=PR1#v=onepage&q=%22WHEREAS%20it%20is%20much%20to
     %20be%20doubted%20%22%20virginia&f=false, last accessed February 27, 2024.
28          12
               3 RECORDS OF THE COLONY OF RHODE ISLAND, AND PROVIDENCE
     PLANTATIONS, IN NEW ENGLAND 31 (1858).
                                      5
                REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 10 of 23 Page ID
                                 #:1248


  1         18.    This was a Sabbath-keeping law that prohibited sport of all sorts and
  2   drinking on Sundays. It did not prohibit being armed while drunk or even drinking.
  3         19.    Spitzer at ¶66 claims:
  4         In 1663, Massachusetts criminalized any on board of ships docked at
            any colonial harbor where those on board would “be drunk within their
  5         vessels by day or night” and “shoot off any gun after the daylight is past,
            or on the sabbath day.” The fine was a substantial twenty shillings for
  6         every gun so fired.
  7         20.    The actual statute:
  8         Sect. 4. Be it also enacted by the authority of this court, that no masters
            of ships, or seamen, having their vessels riding within any of our
  9         harbours in this jurisdiction, shall presume to drink healths, or suffer any
            healths to be drunk within their vessels by day or night, or to shoot off
 10         any gun after the daylight is past, or on the sabbath day, on penalty for
            every health twenty shillings, and for every gun so shot twenty
 11         shillings. 13 [emphasis added]
 12         21.    As the full statute demonstrates, this law banned drinking not being
 13   drunk. A separate offense was shooting “after the daylight is past, or on the sabbath
 14   day…” The term “gun” in this period often means cannon, not small arms. Georgia
 15   in 1759 made it unlawful to fire “any great gun or shall arm in the town or harbour
 16   of Savannah after Sun Set without leave or permission. from the Governor.” The
 17   “shall arm” appears to be a typo for “small arm”; the marginal description is “person
 18   firing any great Guns or small arms…” 14 A similar statute limiting such firing can
 19   be found in Pennsylvania, and again it seems limited to cannon: “And that no master
 20   or commander of any merchant ship or vessel shall fire, or suffer to be fired, on board
 21   his vessel, any ordnance or other gun after eight o'clock in the evening, nor before
 22   daylight in the morning….” 15
 23         22.    At ¶66: “In 1750 Pennsylvania enacted a law “For Suppressing Idleness,
 24   Drunkenness, And Other Debaucheries” that punished with “penalties and
 25
 26         13
               CHARTER AND GENERAL LAWS OF THE COLONY AND PROVINCE OF
      MASSACHUSETTS BAY Ch. 91 at 190 (1814).
 27         14
               Chandler, 18 THE STATE RECORDS OF THE COLONY OF GEORGIA 294-5
      (1759).
 28         15
               Mitchell and Flanders, 2 STATUTES AT LARGE OF PENNSYLVANIA FROM 1682
      TO 1801 420 (1896).

                                       6
                 REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 11 of 23 Page ID
                                 #:1249


  1   forfeitures” any who fired guns or set off fireworks without a special license to do
  2   so.” He cites this as “1750 Pa. Laws 208, An Act For The More Effectual Preventing
  3   Accidents Which May Happen By Fire, And For Suppressing Idleness, Drunkenness,
  4   And Other Debaucheries.” As both the marginal note and the last paragraph clearly
  5   state, this was a 1751 law. More importantly, Spitzer misrepresents the law whose
  6   text is:
  7          To the end the provisions already made by our laws, for preventing
             accidents which may happen by fire in the city of Philadelphia, and
  8          several other boroughs and towns, within this province, may be made
             more generally useful, and to prevent, as much as in us lies, the growing
  9          sins of idleness, drunkenness, and other debaucheries, too frequent
             among us, Be it enacted, that if any person or persons whatsoever,
 10          within any county town, or within any other town or borough, in this
             province, already built and settled, or hereafter to be built and settled,
 11          not hitherto restricted nor provided for by our laws, shall set on fire their
             chimnies to cleanse them, or shall suffer them or any of them to take
 12          fire, and blaze out at the top, or shall fire any gun or other fire-arm, or
             shall make, or cause to be made, or sell or utter, or offer to expose to
 13          sale, any squibs, rockets or other fire-works, or shall cast, throw or fire
             any squibs, rockets or other fire-works, within any of the said towns or
 14          boroughs, without the governor's special license for the same, every
             such person, or persons, so offending, shall be subject to the like
 15          penalties and forfeitures, and to be recovered in like manner, as in and
             by an act, passed in the eighth year of the reign of king George the first,
 16          entitled, An act for preventing accidents that may happen by fire, are
             directed to be levied and recovered.
 17
             If any person or persons whatsoever, shall give or sell any rum, wine,
 18          or other strong liquors, at the time of any vendue, to any person or
             persons attending the same, he, she, or they, so selling or giving any
 19          liquors, shall forfeit and pay for the first offence, the sum of four pounds,
             and for the second and every other offence, the sum of five pounds.
 20          [emphasis added]
 21          Provided, that every such conviction be made within one month after
             such offence or offences committed. Passed 9th February, 1751.-1 Sm.
 22          L. p. 208. [emphases added]
 23          23.   Shooting firearms in the towns was prohibited. In addition, this law
 24   prohibited selling “any rum, wine, or other strong liquors….”             There was no
 25   prohibition on being armed while drunk.
 26                E.     Alcohol & Militia Musters
 27          24.   Starting at ¶70, Spitzer discusses colonial militia laws that prohibited
 28   sales of alcohol in proximity to militia musters:

                                       7
                 REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 12 of 23 Page ID
                                 #:1250


  1          A 1679 Massachusetts law prohibited bringing or selling “any wine,
             strong liquor, cider, or any other inebriating drinckes, excepting beere
  2          of a penny a-quart” on and in the proximity of militia training days
             unless they were licensed to do so “from the hands of two magistrates”
  3          or the commanding military officer then present.
  4          25.      The footnote provides no identifiable source: “Order p[ro]hibbiting
  5   retayling strong drinckes at traynings, Boston, May 28th, 1679. Beer had a lower
  6   alcohol content than other alcoholic beverages.” I was able to find the statute and as
  7   Spitzer claims, it prohibits sale of alcohol in proximity to militia trainings. It does
  8   not prohibit being armed while drunk or even while drinking. 16 Spitzer then lists
  9   similar prohibitions on sale of alcohol at militia musters in New Jersey, Delaware,
 10   Maryland, and Pennsylvania. Spitzer characterizes all of them as bans on sale, not
 11   as bans on being armed while drinking or drunk. In ¶71: “These laws restricting the
 12   civilian commercial sale of alcohol all pertained to their proximity to militia/military
 13   activity.”
 14          26.      Spitzer claims in ¶70: “Such measures extended into the nineteenth
 15   century.” In n. 121: “Acts & Resolves of Vermont, 25, no. 24, An Act to Prevent
 16   Traffic in Intoxicating Liquors for the Purpose of Drinking, §15 (1852)….” I was
 17   unable to find this statute, but case law confirmed this as a general ban on sales of
 18   alcohol “in any tent, shanty, hut, or place of any kind for selling refreshments, on or
 19   near the ground of any cattle show, agricultural exhibition, military muster, or other
 20   public occasion…” 17 Again, this was not a ban on being armed and drunk and was
 21   not specific to militia.
 22          27.      In n. 121: “An Act for the More Effectual Suppression of Drinking
 23   Houses and Tippling Shops, §10, Acts & Resolves of the General Assembly of the
 24   State of Rhode Island (1853)…” The actual text of §10 is unrelated:
 25          SEC. 10. All cases arising under this act, whether by action, complaint
             or indictment, which shall come before the Court of Common Pleas, or
 26          Supreme Court, shall take precedence of all other business, except those
 27
              5 RECORDS OF THE GOVERNOR AND COMPANY OF THE MASSACHUSETTS BAY
             16

 28   IN NEW ENGLAND 211 (1854).
             17
                  Fenner v. State, 3 Vt. 108 (1855).
                                        8
                  REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 13 of 23 Page ID
                                 #:1251

            criminal cases, in which the parties are actually confined in jail, awaiting
  1         trial. 18
  2         28.    §14 is likely what Spitzer intended. It uses nearly identical language to
  3   the Vermont 1852 statute:
  4         It shall be the duty of any mayor, alderman, city marshal, city or town
            sergeant, constable or police officer, of any city or town, if he shall have
  5         information that any intoxicating liquors are kept or sold in any tent,
            shanty, hut or place of any kind for selling refreshments in any public
  6         place, on or near the ground of any cattle show, agricultural exhibition,
            military muster or public occasion of any kind, to search such suspected
  7         place, and if such officer shall find upon the premises any intoxicating
            liquors, he shall seize them and apprehend the keeper or keepers of such
  8         place…
  9         29.    Again, like the other statutes Spitzer cites, these are bans on sale of
 10   alcohol near militia musters and other public events, not bans on being armed while
 11   drunk and not specific to militia activities.
 12                F.     Weapons Restrictions on Non-Residents
 13         30.    Spitzer starting at ¶73 lists hunting statutes that treated non-residents
 14   differently, sometimes punishing more severely non-residents for hunting law
 15   violations, sometimes treating residents and non-residents completely differently.
 16   None of the cited laws impaired the bearing of arms for self-defense.
 17         31.    The first federal decision to discuss the right to keep and bear arms is a
 18   well-known case—though it is not well-known for its relevance to the Second
 19   Amendment—Dred Scott v. Sandford (1857). The goal of the suit was to establish
 20   that slaves taken into free states were thus free. But the issue of whether free blacks
 21   were citizens, and could therefore sue in the Federal courts, had to be resolved first. 19
 22   To that end, it sought to establish that free blacks were citizens of the United States.
 23   Justice Taney, writing for the majority, rejected this position:
 24         18
                An Act for the More Effectual Suppression of Drinking Houses and
 25   Tippling Shops (1852),
      https://books.google.com/books?id=AWUoAAAAYAAJ&newbks=1&newbks_redi
 26   r=0&dq=%22All%20cases%20arising%20under%20this%20act%2C%20whether%
      20by%20action%20%2C%20complaint%20or%20indictment%20%22&pg=PP5#v
 27   =onepage&q=%22All%20cases%20arising%20under%20this%20act,%20whether
      %20by%20action%20,%20complaint%20or%20indictment%20%22&f=false, last
 28   accessed October 20, 2023.
             19
                Id.
                                       9
                 REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 14 of 23 Page ID
                                 #:1252


  1         It would give to persons of the negro race, who were recognized as
            citizens in any one State of the Union, the right to enter every other State
  2         whenever they pleased, singly or in companies, without pass or passport,
            and without obstruction, to sojourn there as long as they pleased, to go
  3         where they pleased at every hour of the day or night without
            molestation, unless they committed some violation of law for which a
  4         white man would be punished; and it would give them the full liberty of
            speech in public and in private upon all subjects upon which its own
  5         citizens might speak; to hold public meetings upon political affairs, and
            to keep and carry arms wherever they went. And all of this would be
  6         done in the face of the subject race of the same color, both free and
            slaves, inevitably producing discontent and insubordination among
  7         them, and endangering the peace and safety of the State. 20 [emphasis
            added]
  8
  9         32.    This shows that a citizen of one state was free to “to enter every other
 10   State… and to keep and carry arms wherever they went.”
 11   Rivas Declaration
 12         33.    Dr. Rivas at ¶17 claims:
 13         Even though nineteenth-century case law generally coalesced around
            the principle that concealed weapon laws were constitutional, that did
 14         not mean that people wishing to openly carry deadly weapons as a form
            of preemptive self-defense were engaging in what was considered
 15         constitutionally protected behavior—or acceptable behavior at all.
 16         34.    Here she is utterly wrong. While most state supreme courts held that
 17   concealed carry bans were constitutional under state “right to keep and bear arms”
 18   provisions, many recognized a right to open carry. The Texas Supreme Court upheld
 19   a sentence enhancement for killing someone with a Bowie knife and specifically
 20   recognized a right to carry one with no apparent distinction between open and
 21   concealed carry:
 22         The right to carry a bowie-knife for lawful defence is secured, and must
            be admitted. It is an exceedingly destructive weapon. It is difficult to
 23
 24         20
               Dred Scott v. Sandford, 60 U.S. 393, 417 (1857),
      https://books.google.com/books?id=50j4udLj9PcC&newbks=1&newbks_redir=0&
 25   dq=%22It%20would%20give%20to%20persons%20of%20the%20negro%20race%
      2C%20who%20were%20recognized%20as%20citizens%20in%20any%20one%20
 26   State%20of%20the%20Union%2C%20the%20right%20to%20enter%20every%20o
      ther%20State%20%22&pg=PA15#v=onepage&q=%22It%20would%20give%20to
 27   %20persons%20of%20the%20negro%20race,%20who%20were%20recognized%2
      0as%20citizens%20in%20any%20one%20State%20of%20the%20Union,%20the%
 28   20right%20to%20enter%20every%20other%20State%20%22&f=false, last
      accessed February 26, 2024.
                                       10
                 REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 15 of 23 Page ID
                                 #:1253

            defend against it, by any degree of bravery, or any amount of skill. The
  1         gun or pistol may miss its aim, and when discharged, its dangerous
            character is lost, or diminished at least. The sword may be parried. With
  2         these weapons men fight for the sake of the combat, to satisfy the laws
            of honor, not necessarily with the intention to kill, or with a certainty of
  3         killing, when the intention exists. The bowie-knife differs from these in
            its device and design; it is the instrument of almost certain death. He
  4         who carries such a weapon, for lawful defence, as he may, makes
            himself more dangerous to the rights of others, considering the frailties
  5         of human nature, than if he carried a less dangerous weapon. 21
            [emphasis added]
  6
            35.    Another example comes from the Tennessee Supreme Court:
  7
            William Simpson, laborer, on the first day of April,... 1833, with force
  8         and arms,... being arrayed in a warlike manner, then and there in a
            certain public street and highway situate, unlawfully, and to the great
  9         terror and disturbance of divers good citizens of the said state, then and
            there being, an affray did make, in contempt of the laws of the land, to
 10         the evil example of all others in the like case offending, and against the
            peace and dignity of the state. 22
 11
            36.    The Court disputed the relevance of the Statute of Northampton (1328)
 12
      by pointing to the Tennessee Constitution’s arms guarantee:
 13
            But suppose it to be assumed on any ground, that our ancestors adopted
 14         and brought over with them this English statute, or portion of the
            common law, our constitution has completely abrogated it; it says, “that
 15         the freemen of this state have a right to keep and to bear arms for their
            common defence.” Article 11, sec. 26. It is submitted, that this clause
 16         of our constitution fully meets and opposes the passage or clause in
            Hawkins, of “a man’s arming himself with dangerous and unusual
 17         weapons,” as being an independent ground of affray, so as of itself to
            constitute the offence cognizable by indictment. By this clause of the
 18         constitution, an express power is given and secured to all the free
            citizens of the state to keep and bear arms for their defence, without any
 19         qualification whatever as to their kind or nature; and it is conceived, that
            it would be going much too far, to impair by construction or abridgment
 20         a constitutional privilege which is so declared; neither, after so solemn
            an instrument hath said the people may carry arms, can we be permitted
 21
 22         21
                Cockrum v. State, 24 Tex. 394, 402, 403 (1859)
      https://books.google.com/books?id=N-
 23   gaAAAAYAAJ&newbks=1&newbks_redir=0&dq=%22The%20right%20to%20car
      ry%20a%20bowie-
 24   knife%20for%20lawful%20defence%20is%20secured%22&pg=PA403#v=onepage
      &q=%22The%20right%20to%20carry%20a%20bowie-
 25   knife%20for%20lawful%20defence%20is%20secured%22&f=false, last accessed
      February 26, 2024.
 26          22
                Simpson v. State, 5 Yerg. 356, 357 (Tenn. 1833),
      https://books.google.com/books?id=RFNI4BifGs8C&newbks=1&newbks_redir=0
 27   &dq=%22arrayed%20in%20a%20warlike%20manner%2C%20then%20and%20the
      re%20in%20a%20certain%20%22&pg=PA357#v=onepage&q=%22arrayed%20in
 28   %20a%20warlike%20manner,%20then%20and%20there%20in%20a%20certain%2
      0%22&f=false, last accessed February 26, 2024.
                                       11
                 REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 16 of 23 Page ID
                                 #:1254

            to impute to the acts thus licensed such a necessarily consequent
  1         operation as terror to the people to be incurred thereby; we must attribute
            to the framers of it the absence of such a view. 23 [emphasis added]
  2
  3         37.    The Alabama Supreme Court upheld a concealed weapon ban but
  4   acknowledged that Legislature’s powers were not unlimited:
           We do not desire to be understood as maintaining, that in regulating the
  5        manner of bearing arms, the authority of the Legislature has no other
           limit than its own discretion. A statute which, under the pretence of
  6        regulating, amounts to a destruction of the right, or which requires arms
           to be so borne as to render them wholly useless for the purpose of
  7        defence, would be clearly unconstitutional. 24 [emphasis added]
  8         38.    A few years later, the Alabama Supreme Court again recognized the
  9   limits of state regulatory authority.
 10         39.    The opinion, written by Chief Justice Rice, used the precedent of State
 11   v. Reid (1840) to establish:
 12         That section was not designed to destroy the right, guarantied by the
            constitution to every citizen, “to bear arms in defense of himself and the
 13         State”; nor to require them to be so borne, as to render them useless for
            the purpose of defense. It is a mere regulation of the manner in which
 14         certain weapons are to be borne... 25 [emphasis added]
 15         40.    A North Carolina Supreme Court decision also demonstrates that the
 16   right to open carry was constitutionally protected in a case where it might be easy to
 17   have taken the other view. 26
 18
 19         23
                 Simpson v. State, 5 Yerg. 359, 360 (Tenn. 1833),
      https://books.google.com/books?id=RFNI4BifGs8C&newbks=1&newbks_redir=0
 20   &dq=%22arrayed%20in%20a%20warlike%20manner%2C%20then%20and%20the
      re%20in%20a%20certain%20%22&pg=PA360#v=onepage&q=%22But%20suppos
 21   e%20it%20to%20be%20assumed%20on%20any%20ground,%20that%20our%20a
      ncestors%20adopted%20%22&f=false, last accessed February 26, 2024.
 22           24
                 State v. Reid, 1 Ala. 612, 615, 616, 617 (1840),
      https://books.google.com/books?id=q19MAQAAMAAJ&newbks=1&newbks_redir
 23   =0&dq=%22We%20do%20not%20desire%20to%20be%20understood%20as%20m
      aintaining%2C%20that%20in%20regulating%20the%20manner%20of%20bearing
 24   %20%22&pg=PA46#v=onepage&q=%22We%20do%20not%20desire%22&f=false
      , last accessed February 26, 2024.
 25           25
                 Owen v. State, 31 Ala. 387, 388, 389 (1858),
      https://books.google.com/books?id=rLwoAQAAMAAJ&newbks=1&newbks_redir
 26   =0&dq=%22That%20section%20was%20not%20designed%20to%20destroy%20th
      e%20right%2C%20guarantied%20by%20the%20constitution%20%22&pg=PA153
 27   #v=onepage&q=%22That%20section%20was%20not%20designed%20to%20destr
      oy%20the%20right%22&f=false, last accessed February 26, 2024.
 28           26
                 State v. Huntley, 25 N.C. 418, 422, 423 (1843),
      https://casetext.com/case/state-v-huntley-36, last accessed February 26, 2024.
                                       12
                 REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 17 of 23 Page ID
                                 #:1255


  1         41.    The defendant Huntley had ridden about armed while making deaths
  2   threats and one of the targets of Huntley’s wrath “showed himself once, but for too
  3   short a time to enable him to do so, and that he mistook another man for him, and
  4   was very near shooting him.” 27
  5         42.    The North Carolina Supreme Court also held that:
  6         it is to be remembered that the carrying of a gun per se constitutes no
            offence. For any lawful purpose—either of business or amusement—
  7         the citizen is at perfect liberty to carry his gun. It is the wicked
            purpose—and the mischievous result—which essentially constitute the
  8         crime. He shall not carry about this or any other weapon of death to
            terrify and alarm, and in such manner as naturally will terrify and alarm,
  9         a peaceful people. 28 [emphasis added]
 10         43.    The Georgia Supreme Court also weighed in when considering an 1837
 11   state law that among its regulations prohibited concealed carry of weapons:
 12         We are of the opinion, then, that so far as the act of 1837 seeks to
            suppress the practice of carrying certain weapons secretly, that it is
 13         valid, inasmuch as it does not deprive the citizen of his natural right of
            self-defence, or of his constitutional right to keep and bear arms. But
 14         that so much of it, as contains a prohibition against bearing arms openly,
            is in conflict with the Constitution, and void... 29 [emphasis in the
 15         original]
 16         44.    In Stockdale v. State (1861), the Georgia Supreme Court cited Nunn v.
 17   State (1846), and held that “it is impossible for one to have and bear about his person
 18   a pistol or weapon of any kind, without having some part of the weapon concealed
 19   from view,” and that, “To enforce the law, as the Court construed it to the jury, would
 20
 21
 22         27
               Id., at 285.
 23         28
                Id. at p.287,
      https://books.google.com/books?id=DtszAQAAMAAJ&newbks=1&newbks_redir
 24   =0&dq=%22it%20is%20to%20be%20remembered%20that%20the%20carrying%2
      0of%20a%20gun%20per%20se%20%22&pg=PA287#v=onepage&q=%22it%20is
 25   %20to%20be%20remembered%20that%20the%20carrying%20of%20a%20gun%2
      0%22&f=false last accessed February 26, 2024.
 26          29
                Nunn v. State, 1 Ga. p.243, 250, 251 (1846),
      https://books.google.com/books?id=668aAAAAYAAJ&newbks=1&newbks_redir=
 27   0&dq=%22We%20are%20of%20the%20opinion%2C%20then%2C%20that%20so
      %20far%20as%20the%20act%20of%201837%20%22&pg=PA252#v=onepage&q=
 28   %22We%20are%20of%20the%20opinion,%20then,%20that%20so%20far%20as%
      20the%20act%20of%201837%20%22&f=false, last accessed February 26, 2024.
                                     13
               REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 18 of 23 Page ID
                                 #:1256


  1   be to prohibit the bearing of those arms altogether, and to bring the act within the
  2   decision in Nunn’s case.” 30
  3         45.    The Louisiana Supreme Court made a series of decisions recognizing
  4   the right to openly carry arms in 1850, 1856, and 1858. In the first case, State v.
  5   Chandler (1850), Chandler was tried and convicted of manslaughter. The details of
  6   the crime are not contained within the Louisiana Supreme Court’s decision, but the
  7   weapon appears to have been a Bowie knife. While Chandler’s appeal primarily
  8   raised self-defense issues, it was also based on his counsel’s request that the jury be
  9   told “that to carry weapons, either concealed or openly, is not a crime in the State of
 10   Louisiana; that the Constitution which guarantees to the citizen the right to bear arms
 11   cannot be restricted by the action of the Legislature.”
 12         46.    In the Louisiana Supreme Court’s opinion:
 13         This law became absolutely necessary to counteract a vicious state of
            society, growing out of the habit of carrying concealed weapons, and to
 14         prevent bloodshed and assassinations committed upon unsuspecting
            persons. It interfered with no man’s right to carry arms (to use its own
 15         words), “in full open view,” which places men upon an equality. This
            is the right guaranteed by the Constitution of the United States, and
 16         which is calculated to incite men to a manly and noble defence of
            themselves, if necessary, and of their country, without any tendency to
 17         secret advantages and unmanly assassination. 31 [emphasis added]
 18         47.    Six years later, in Smith v. State (1856), the Louisiana Supreme Court
 19   seemingly backtracked from that bold statement. The defendant, J. T. Smith, was
 20   convicted of carrying a concealed weapon, even though the weapon was partially
 21
 22
 23         30
                Stockdale v. State, 32 Ga. 225, 227 (1861). At first glance, it would seem
      strange that the Nunn decision, based at least partly on the Second Amendment,
 24   would still remain a valid precedent, since Georgia by this point had left the United
      States. However, the Confederacy had pointedly adopted a Constitution “almost
 25   word for word” identical to the United States Constitution. Forrest McDonald, A
      Constitutional History of the United States 124 (1982).
 26          31
                State v. Chandler, 5 La. An. 489, 490, 491 (1850),
      https://books.google.com/books?id=wQ88AAAAIAAJ&newbks=1&newbks_redir
 27   =0&dq=%22This%20law%20became%20absolutely%20necessary%20to%20count
      eract%20a%20vicious%20%22&pg=PA600#v=onepage&q=%22This%20law%20b
 28   ecame%20absolutely%20necessary%20to%20counteract%20a%20vicious%20%22
      &f=false, last accessed February 26, 2024.
                                       14
                 REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 19 of 23 Page ID
                                 #:1257


  1   exposed. The defendant attempted to use the Second Amendment as a defense. The
  2   Louisiana Supreme Court’s response was:
  3         The statute against carrying concealed weapons does not contravene the
            second article of the amendments of the Constitution of the United
  4         States. The arms there spoken of are such as are borne by a people in
            war, or at least carried openly. The article explains itself. It is in these
  5         words: “A well regulated militia being necessary to the security of a free
            State, the right of the people to keep and bear arms shall not be
  6         infringed.” This was never intended to prevent the individual States
            from adopting such measures of police as might be necessary, in order
  7         to protect the orderly and well disposed citizens from the treacherous
            use of weapons not even designed for any purpose of public defence,
  8         and used most frequently by evil-disposed men who seek an advantage
            over their antagonists, in the disturbances and breaches of the peace
  9         which they are prone to provoke. 32
 10         48.    This decision recognized open carry as a Constitutionally protected
 11   mode in a much looser manner than State v. Chandler (1850)—though it still
 12   recognized that the Second Amendment was a limitation on state laws that prohibited
 13   the open carry of arms.
 14         49.    This decision can be misread as a prohibition on open carry as Dr. Rivas
 15   did in ¶19: a partially visible weapon was a violation of the concealed carry law
 16   because it was “the result of accident or want of capacity in the pocket to contain, or
 17   clothes fully to cover the weapon, and not the extremely unusual case of the carrying
 18   of such weapon in full open view, and partially covered by the pocket or clothes.” 33
 19
 20
 21         32
                Smith v. State, 11 La. An. 633, 634 (1856),
 22   https://books.google.com/books?id=E3ZFAQAAMAAJ&newbks=1&newbks_redir
      =0&dq=%22The%20statute%20against%20carrying%20concealed%20weapons%2
 23   0does%20not%20contravene%20the%20second%20article%20of%20the%20amen
      dments%20of%20the%20Constitution%20of%20the%20United%20States%22&pg
 24   =PA633#v=onepage&q=%22The%20statute%20against%20carrying%20concealed
      %20weapons%20does%20not%20contravene%20the%20second%20article%20of
 25   %20the%20amendments%20of%20the%20Constitution%20of%20the%20United%
      20States%22&f=false, last accessed February 26, 2024.
 26          33
                State v. Smith, 11 La.Ann. 633, 634 (1856).,
      https://books.google.com/books?id=E3ZFAQAAMAAJ&newbks=1&newbks_redir
 27   =0&dq=%22the%20result%20of%20accident%20or%20want%20of%20capacity%
      20in%20the%20pocket%20to%20contain%22&pg=PA633#v=onepage&q=%22the
 28   %20result%20of%20accident%20or%20want%20of%20capacity%20in%20the%20
      pocket%20to%20contain%22&f=false, last accessed February 26, 2024.
                                       15
                 REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 20 of 23 Page ID
                                 #:1258


  1   What was “extremely unusual” was a “weapon in full open view, and partially
  2   covered by the pocket or clothes.” 34
  3   Vorenberg Declaration
  4         50.        Vorenberg at ¶7 describes his declaration as having “with a special focus
  5   on the period during Reconstruction when the Fourteenth Amendment to the U.S.
  6   Constitution was created, ratified, and enforced (1863-1883).” While his argument
  7   that “The ‘era of the Fourteenth Amendment” is here defined as the period roughly
  8   from 1863 to 1883,” would be an interesting assertion for a book about the Fourteenth
  9   Amendment and I do not dispute his reasoning for this claim, the Bruen decision is
 10   very clear that the ending date for the question of what laws have some relevance is
 11   the year that the Fourteenth Amendment was ratified. I would also take exception to
 12   his claim:
 13         In the 1870s, the U.S. Supreme Court began to issue decisions that
            curtailed the impact of the Fourteenth Amendment, especially its
 14         potential for delivering broad civil rights to all Americans. The capstone
            decision of this nature came in 1883 with the Civil Rights Cases, so I
 15         take 1883 as a constitutional endpoint of the era of the Fourteenth
            Amendment.
 16
            51.        Why the Civil Rights Cases and not Plessy v. Ferguson (1896) or any of
 17
      a number of 20th century cases that curtailed delivery of broad civil rights? Why not
 18
      include McDonald v. Chicago (2010), which finally incorporated the Second
 19
      Amendment against the states? Apparently because he needs the 1868-1883 period
 20
      to make his argument for restrictive firearms laws, many of which are after 1868.
 21
            52.        At ¶25, Vorenberg argues that marriage laws were state-based, not
 22
      locale-based. This is definitely news after Loving v. Virginia (1967). Rights now
 23
      recognized under the Bill of Rights are because of the Fourteenth Amendment no
 24
      longer allows “state-based” laws: among others homosexual sex bans, one man/one
 25
      woman marriage laws, and so forth.
 26
 27
 28         34
                 Id.
                                       16
                 REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 21 of 23 Page ID
                                 #:1259


  1         53.   At ¶28, Vorenberg gives examples of laws before the Fourteenth
  2   Amendment that regulated firearms possession and carrying. Vorenberg does not
  3   acknowledge that states of the former Confederacy often regulated guns in ways that
  4   worked to the detriment of the freedmen and this was one reason for Congress to pass
  5   the Fourteenth Amendment.
  6
                                           _________________________________
  7                                        Clayton Cramer
                                           Declarant
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                     17
               REBUTTAL DECL. OF CLAYTON CRAMER ISO PLFS’ MPI
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 22 of 23 Page ID
                                 #:1260


 1                            CERTIFICATE OF SERVICE
                        IN THE UNITED STATES DISTRICT COURT
 2                        CENTRAL DISTRICT OF CALIFORNIA
 3
      Case Name: California Rifle and Pistol Association, et al., v. Los Angeles County
 4    Sheriff’s Dept., et al.

 5    Case No.:    8:23-cv-10169-SPG (ADSx)

 6    IT IS HEREBY CERTIFIED THAT:

 7           I, the undersigned, am a citizen of the United States and am at least eighteen
      years of age. My business address is 180 East Ocean Boulevard, Suite 200, Long
 8    Beach, California 90802.

 9           I am not a party to the above-entitled action. I have caused service of:

10     REBUTTAL DECLARATION OF CLAYTON CRAMER IN SUPPORT OF
           PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
11
      on the following parties, as follows:
12
       Mark R Beckington                          Bruce A. Lindsay
13     Jane E. Reilley                            Monica Choi Arredondo
       Christina R.B. Lopez, Deputy Attorney      JONES MAYER
14     General                                    3777 N. Harbor Blvd.
       California Department of Justice           Fullerton, CA 92835
15     Office of the Attorney General             bal@jones-mayer.com
       300 South Spring Street, Suite 1702        mca@jones-mayer.com
16     Los Angeles, CA 90013-1230
       jane.reilley@doj.ca.gov                    Attorneys for Defendants La Verne
17     Christina.Lopez@doj.ca.gov                 Police Department and La Verne
                                                  Chief of Police Colleen Flores
18     Attorney for Defendant Robert Bonta

19     Henry Michael Nikogosyan
       Ryan M. Chabot
20     WILMER CUTLER PICKERING
       HALE AND DORR LLP
21     2600 El Camino Real, Suite 400
       Palo Alto, CA 94306
22     mark.selwyn@wilmerhale.com
       ryan.chabot@wilmerhale.com
23
       Attorneys for Defendants Los
24     Angeles County Sheriff’s Department
       and Sheriff Robert Luna
25
      by electronically filing the foregoing with the Clerk of the District Court using its
26    ECF System, which electronically notifies them.

27
28


                                    CERTIFICATE OF SERVICE
Case 2:23-cv-10169-SPG-ADS Document 32-1 Filed 02/28/24 Page 23 of 23 Page ID
                                 #:1261


 1          I declare under penalty of perjury that the foregoing is true and correct.
 2    Executed February 28, 2024.
 3                                                 Christina Castron
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                  CERTIFICATE OF SERVICE
